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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



REGINALD BROWN,

      Plaintiff,

vs.                                       CASE NO.:

SELIG ENTERPRISES, INC.,

      Defendant.
                                     /

               COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, REGINALD BROWN (“Plaintiff”), by and through undersigned

counsel, hereby file this Complaint against Defendant, SELIG ENTERPRISES,

INC., (“Defendant”) and in support thereof states as follows:

                                 INTRODUCTION

      This is an action brought pursuant to the Civil Rights Act of 1866, 42 U.S.C.

§1981 (“Section 1981”) for discrimination, and seeks to recover back pay, front

pay, compensatory damages, damages for mental anguish and emotional distress,

pain and suffering, punitive damages, injunctive relief, equitable relief, reasonable

attorneys’ fees and costs and any other relief to which the Plaintiff is entitled.
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                              JURISDICTION AND VENUE

1.     The Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.

§1331.

2.     This Court has jurisdiction over Plaintiffs’ claims because, at all times

material to this Complaint, the unlawful employment conduct complained of and

the resultant injury occurred within the judicial district in and for Fulton County,

Georgia.

3.     Specifically, Plaintiff was employed by Defendant who lists its principal

office address as 1100 Sprint Street NW, Suite 500, Atlanta, Georgia 30309-2857.

See Georgia Division of Corporation website at www.ecorp.sos.ga.gov

                                    PARTIES

4.     Plaintiff is an African American male.

5.     Plaintiff is a citizen of the United States of America and is subject to the

jurisdiction of this Court.

6.     At all times relevant to this Complaint, Defendant was qualified to do

business in Georgia, and at all times material hereto has conducted business within

this District.

7.     Defendant may be served with process by delivering a copy of the Summons

and Complaint to its Registered Agent, Kenneth J. Clayman, at 1100 Spring Street

NW, Suite 550, Atlanta, Georgia 30309.



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8.    Defendant is now and, at all times relevant hereto, has been a for-profit

corporation.

9.    Defendant is engaged in an industry affecting commerce employing more

than fifty (50) employees.

                             FACTUAL ALLEGATIONS

10.   According to its website, Defendant is a family-owned and operated real

estate company that has a portfolio of more than 15 million square feet of retail,

industrial, mixed-used and office properties throughout the Southeast. Defendant

has been involved in major developments in Midtown and Downtown Atlanta. See

www.SeligEnterprises.com/About/Mission

11.   Plaintiff is an African-American male.

12.   Plaintiff began working for Defendant in or about January 1994 as an

Operations Manager in the Atlanta area.

13.   In approximately 1995, Plaintiff was relocated to Orlando Florida where he

was promoted to Regional Manager/Regional VP of Florida operations.

14.   Plaintiff was then relocated to Atlanta in 2005 where he was in charge of

operations for Marriott Suites of Midtown.

15.   In October of 2019, the President of Defendant, Ron Williams, retired and

was replaced by Kris Bowen.




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16.   It should be noted that under Mr. Williams’ tenure as President, Plaintiff had

no disciplinary write-ups or counseling within the company.

17.   On or about March 23, 2020, Plaintiff was contacted by Director of

Operations, Pay Wallace, to stop by the corporate office after his shift.

18.   During that meeting, Plaintiff was presented a furlough letter signed by VP

of Human Resources, Ericka Bryan.

19.   Plaintiff was furlough due to the Coronavirus pandemic.

20.   Plaintiff was the only African American in a managerial position that was

furloughed.

21.   President of Defendant, Kris Bowen, explained to Plaintiff that when

business picked up, Plaintiff would be brought back to the company.

22.   However, in May of 2020, Plaintiff received a separation/termination letter

from Defendant.

23.   To date, Plaintiff has not been offered employment even though business has

picked up.

24.   Defendant terminated Plaintiff based on his race in violation of Section 1981

              COUNT I - DISCRIMINATION BASED ON RACE
                  IN VIOLATION OF SECTION 1981

25.   Plaintiff re-alleges and adopts paragraphs 1-24 as though set forth fully

herein.

26.   Plaintiff is a member of a protected class under Section 1981due to his race.

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27.   By the conduct described above, Defendant engaged in unlawful

employment practices and discriminated against Plaintiff on the basis of his race in

violation of Section 1981.

28.   Defendant knew or should have known of the discrimination.

29.   The above discrimination was done by Defendant with a reckless disregard

for Plaintiff’s rights under federal law. As a direct and proximate result of the

discrimination described above, Plaintiff has suffered and continues to suffer

mental anguish, distress, humiliation and loss of enjoyment of life.

      WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable

relief allowed by law including:

         a. Compensatory damages for emotional pain and suffering;

         b. Injunctive relief;

         c. Prejudgment interest;

         d. Punitive damages;

         e. Costs and attorney’s fees; and,

         f. Such other relief as the Court may deem just and proper.

                                   JURY DEMAND

      Plaintiff requests that upon trial of this action all issues be submitted to and

determined by a jury except those issues expressly reserved by law for determination

by the Court.



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Dated this _____ day of July, 2021.

                               Respectfully submitted,




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